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      INSURANCE TRUST
 10

 11                            UNITED STATES DISTRICT COURT
 12                       CENTRAL DISTRICT OF CALIFORNIA
 13

 14   REBECCA R. GUNNOE,                    CASE NO. 5:13-cv-00613 VAP (SPx)
      TRUSTEE OF THE GUNNOE
 15   IRREVOCABLE INSURANCE
      TRUST
 16                                         MEMORANDUM OF PLAINTIFF
                  Plaintiff,                REBECCA R. GUNNOE,
 17                                         TRUSTEE OF THE GUNNOE
      vs.                                   IRREVOCABLE INSURANCE
 18                                         TRUST IN OPPOSITION TO
      REASSURE AMERICA LIFE                 DEFENDANT REASSURE
 19   INSURANCE COMPANY, and                AMERICA LIFE INSURANCE
      DOES 1 through 30, inclusive          COMPANY’S MOTION TO
 20                                         DISMISS THE SECOND CLAIM
                  Defendants.               FOR RELIEF IN PLAINTIFF’S
 21                                         FIRST AMENDED COMPLAINT
                                            (FRAUD)
 22
                                            [Request for Judicial Notice filed
 23                                         concurrently herewith]
 24                                         Date: October 28, 2013
                                            Time: 2:00 p.m.
 25                                         Crtrm: 2
 26

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            PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS THE
               SECOND CLAIM FOR RELIEF IN FIRST AMENDED COMPLAINT
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  1   I.       INTRODUCTION
  2            In its Rule 12(b)(6) motion to dismiss Plaintiff’s fraud claim (the “Motion”),
  3   Defendant      Reassure    America    Life         Insurance   Company (“Reassure”   or
  4   “Defendant”) asserts that “[b]ecause there is no fiduciary or confidential
  5   relationship between Reassure and Plaintiff or Decedent, Reassure had no duty to
  6   disclose any of the information Plaintiff alleges should have been disclosed.”
  7   (Motion [Doc. No. 27], at 4:1-3.) Defendant erroneously asserts that a fiduciary or
  8   confidential relationship is an indispensable element of a fraudulent concealment
  9   claim.
 10            Under California law, a defendant has a duty to disclose, and a cause of
 11   action for fraudulent non-disclosure of those facts may arise, in at least three
 12   different circumstances in the absence of a confidential or fiduciary relationship
 13   where:
 14            (1)   the facts are known or accessible only to defendant, and defendant
 15   knows they are not known to or reasonably discoverable by the plaintiff;
 16            (2)   the defendant actively conceals discovery of material facts from the
 17   plaintiff; and
 18            (3)   the defendant has voluntarily assumed a contractual obligation to make
 19   the disclosure.
 20            As demonstrated in this Memorandum, all three of these circumstances are
 21   present in this case, any one of which alone is sufficient to require the denial of
 22   Defendant’s Motion.
 23   II.      RELEVANT ALLEGATIONS
 24            Plaintiff Rebecca R. Gunnoe (“Plaintiff” or “Trustee”) is the Trustee of The
 25   Gunnoe Irrevocable Insurance Trust (“Trust”), and the widow of Dr. Charles
 26   Gunnoe, M.D. (“Dr. Gunnoe”), who died on March 10, 2012. (First Amended
 27   Complaint (“FAC”) ¶¶ 1, 4, 13.) Plaintiff’s FAC was filed on August 9, 2013, as
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  1   authorized by this Court. Plaintiff is informed and believes that the Trust is the
  2   designated beneficiary of a life insurance policy issued in or about 1990 on the life
  3   of Dr. Gunnoe. (FAC ¶ 3.) Defendant has admitted that it is the administrator of
  4   the Policy. (Joint Report Pursuant to Rule 26(f), Doc. No. 21, page id. # 240, lines
  5   22-23, filed 08/15/13.)
  6         For over twenty years, Plaintiff made monthly payments to Defendant to
  7   maintain the Policy in effect from its inception in or about 1990. At the time of the
  8   events described in the FAC, Defendant itself was withdrawing monthly payments
  9   from Plaintiff’s bank account. (FAC ¶ 5.)
 10         A.     Defendant Deliberately Sent the “Notice of Policy Grace Period”
 11                Letter to the Wrong Address, Thereby Effectively Failing to
 12                Disclose to Plaintiff That Defendant Would Terminate the Policy
 13                Unless Plaintiff Made a Substantial Payment to Defendant.
 14         In mid-January 2010, Dr. Gunnoe notified Defendant that Plaintiff’s mailing
 15   address had changed. Shortly thereafter, Defendant sent a letter to the Trustee’s
 16   new address, which confirmed that Defendant was aware of the address change.
 17   (FAC ¶ 6.)
 18         Unbeknownst to Plaintiff, in August 2010, Defendant sent a “Notice of
 19   Policy Grace Period” letter to the wrong address – Plaintiff’s old address. In that
 20   letter, Defendant stated that Defendant would terminate the Policy on September
 21   23, 2010 unless a payment in the amount of $9,456.70 was sent to Defendant by
 22   that date. (FAC ¶ 19.)
 23         Plaintiff never received the “Notice of Policy Grace Period” letter, nor did
 24   Plaintiff even know it existed until December 2012. (FAC ¶ 19.)
 25         On September 25, 2010, Defendant sent a letter to Plaintiff titled “Notice of
 26   Policy Termination.” (FAC ¶ 7.) The “Notice of Policy Termination” was sent to
 27   Plaintiff’s correct address. In that letter, Defendant stated that it had terminated the
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  1   policy “due to insufficient cash value to cover the cost of insurance and expenses.”
  2   (FAC ¶ 9.)
  3         Defendant intentionally sent the “Notice of Policy Grace Period” letter to the
  4   wrong address to deprive Plaintiff of the opportunity to make a timely “cure”
  5   payment and keep the Policy in force. (FAC ¶¶ 19, 34.) In doing so, Defendant
  6   effectively failed to disclose to Plaintiff that Defendant was going to terminate the
  7   Policy unless a substantial payment was made to Defendant. When Defendant sent
  8   the “Notice of Policy Grace Period” letter to the wrong address, Defendant knew
  9   that Dr. Gunnoe was then over eighty years old, and that at that age, his health
 10   would have deteriorated significantly since buying the life insurance policy that is
 11   the subject of this case in 1990. (FAC ¶ 35.) Consequently, Defendant knew that
 12   by purporting to terminate the Policy in September 2010, it virtually ensured that
 13   Dr. Gunnoe would not be able to meet the health requirements for reinstating the
 14   Policy after the grace period set forth in the wrongly addressed “Notice of Policy
 15   Grace Period” letter had expired. (FAC ¶ 35.)
 16         B.     Defendant’s Voluntary Assumption by Contract of a Duty to
 17                Disclose.
 18         Defendant has previously admitted in a document that Defendant asserted is
 19   the Policy, and which Defendant submitted to this Court, that it had a duty to send
 20   the “Notice of Policy Grace Period” letter to Plaintiff at the correct address. (Doc.
 21   No. 9-1 (Declaration of Denise Ratliff [“2. Based on my review … Southwestern
 22   Life Insurance Company issued [the] life insurance policy … insuring the life of
 23   Charles Gunnoe, M.D. The policy owner is The Gunnoe Irrevocable Insurance
 24   Trust.”]) and Doc. No. 9-2 (the Policy).) This Court previously reviewed, and
 25   relied upon specific terms of the Policy when ruling on Defendant’s prior motion to
 26   dismiss in this case. (Minute Order Granting Motion to Dismiss Second Claim
 27   (Doc. No. 14), at 4, 7.) Copies of the Policy and the Declaration of Denise Ratliff
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  1   submitted to the Court by Defendant are attached to Plaintiff’s Request for Judicial
  2   Notice filed contemporaneously with this Memorandum.
  3         That copy of the Policy which Defendant previously submitted to this Court
  4   contains a provision titled “GRACE PERIOD” (bold font in original).             That
  5   section states in pertinent part,
  6                If the cash surrender value on a monthly anniversary day
  7                will not cover the next monthly deduction, a grace period
  8                of 61 days from such monthly anniversary day will be
  9                allowed to pay a premium that will cover the monthly
 10                deduction. The Company [Defendant] will send a written
 11                notice 30 days before the end of the grace period to the
 12                owner’s last address shown in the Company’s records and
 13                to any assignee of record if the premium is not previously
 14                paid… The policy will remain in force during the grace
 15                period, unless surrendered…
 16   (Doc. No. 9-2, page id. #113).1
 17         C.     Defendant’s Subsequent Active Concealment of the Fact That
 18                Defendant Sent the “Notice of Policy Grace Period” Letter to the
 19                Wrong Address Following Dr. Gunnoe’s Death in March of 2012.
 20         Defendant then actively concealed the fact it sent the “Notice of Policy Grace
 21   Period” letter to the wrong address. Following Dr. Gunnoe’s death in March 2012,
 22
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         Plaintiff has not yet had the opportunity to conduct discovery with respect to the
 23   copy of the Policy that Defendant previously submitted as evidence in support of its
      previous motion to dismiss and represented to the Court is the Policy. Therefore,
 24   by referring to that copy of the Policy here in this Memorandum, Plaintiff does not
      represent to the Court that that copy of the Policy previously submitted by
 25   Defendant is the entire Policy or an accurate copy of the Policy. However, by
      submitting it to the Court, Defendant is now judicially estopped from denying that
 26   it is a complete and accurate copy of the Policy. Arizona v. Shamrock Foods Co.,
      729 F.2d 1208, 1215 (9th Cir. 1984), cert. denied, 469 U.S. 1197, 105 S.Ct. 980, 83
 27   L.Ed.2d 982 (1985); Rockwell International Corp. v. Hanford Atomic Metal Trades
      Council, 851 F.2d 1208, 1210 (9th Cir. 1988).
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  1   Defendant refused to provide any documents to Plaintiff relating to the Policy.
  2   (FAC ¶ 38.) Plaintiff sent two separate written requests to Defendant for copies of
  3   the Policy and all other pertinent Policy documents in July 2012 and September
  4   2012. (FAC ¶¶ 14-15.) However, in three separate letters, Defendant refused to
  5   provide Plaintiff any documents. (FAC ¶¶ 14-16.) Defendant responded by simply
  6   stating that “the policy is no longer active” and that “this policy has been
  7   terminated as of September 2010.”         Defendant provided no explanation why
  8   Plaintiff, after making payments on the Policy for twenty years, was not entitled to
  9   any of the documents she requested. (FAC ¶ 16.)
 10         Defendant engaged in further active concealment for the period from
 11   September 2012 until after the filing of this lawsuit. For example, it took a total of
 12   four separate written requests by the Trustee before Defendant produced any
 13   documents relating to the Policy. (FAC ¶¶ 17-18, 38.) Defendant refused to
 14   produce anything until December 17, 2012 – more than two years after Defendant
 15   purported to terminate the Policy – when Defendant finally disclosed the wrongly
 16   addressed “Notice of Policy Grace Period” letter. Defendant delayed even longer in
 17   producing a copy of the Policy, waiting until after this lawsuit was filed to do so.
 18   (FAC ¶ 39.)
 19         Further relevant facts are referenced in the text of Plaintiff’s argument.
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   1   III.    ARGUMENT
   2           A.    Under California law, a duty to disclose for purposes of a fraud
   3                 claim arises in at least four circumstances other than a fiduciary
   4                 or confidential relationship, at least three of which apply to
   5                 Plaintiff’s fraud claim against Defendant in this case.
   6                 1.    California law provides that a fraudulent concealment claim
   7                       can arise in at least four circumstances other than a
   8                       fiduciary or confidential relationship.
   9           In its Motion, at p. 4:1-3, Defendant assumes without discussion that the lack
  10   of a fiduciary or confidential relationship between the parties is fatal to any
  11   fraudulent concealment claim. Defendant’s presumption is inaccurate. A duty to
  12   disclose exists in at least four other circumstances.
  13           In Warner Constr. Corp. v. City of Los Angeles, 2 Cal.3d 285 (1970), the
  14   California Supreme Court held:
  15                 In transactions which do not involve fiduciary or
  16                 confidential relations, a cause of action for non-disclosure
  17                 of material facts may arise in at least three instances: (1)
  18                 the defendant makes representations but does not disclose
  19                 facts which materially qualify the facts disclosed, or
  20                 which render his disclosure likely to mislead; (2) the facts
  21                 are known or accessible only to defendant, and defendant
  22                 knows they are not known to or reasonably discoverable
  23                 by the plaintiff; (3) the defendant actively conceals
  24                 discovery from the plaintiff.
  25   Id. at 294 (emphasis added; footnotes and citations omitted). See also, Yen v.
  26   Buchholz, 2010 WL 1758623, * 7 (N.D. CA 2010) (nondisclosure or concealment
  27   may be actionable as fraud when the defendant had exclusive knowledge of
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   1   material facts not known to the plaintiff; when the defendant actively conceals a
   2   material fact from the plaintiff; and when the defendant makes partial
   3   representation but also suppresses some material facts).
   4         A duty to disclose also arises where it is “voluntarily assumed by contractual
   5   undertaking.” Irving v. Lennar Corp., 2013 WL 1308712, 10 (E.D. CA 2013)
   6   (quoting SCC Acquisitions Inc. v. Central Pac. Bank, 207 Cal.App.4th 859, 864
   7   (2012)); Blickman Turkus, LP v. MF Downtown Sunnyvale, LLC, 162 Cal.App.4th
   8   858, 867 (2008).)
   9         In Warner Constr. Corp., the plaintiff was a construction contractor who
  10   entered into an agreement with the City of Los Angeles to construct a retaining wall
  11   on a street in Los Angeles.      During construction, caving occurred in several
  12   unsupported holes which the plaintiff had drilled. Warner, 2 Cal.3d 285 at 290.
  13   The contractor unsuccessfully tried to support the walls of the holes by driving steel
  14   casings into the surrounding sand for support. However, that threatened to collapse
  15   the entire construction area. Id. The contractor then requested a change order to
  16   permit drilling with rotary mud, which would add stability but also increase the
  17   price substantially. The City refused to approve the change order, maintaining that
  18   the construction plans required only that holes be drilled, which left the drilling
  19   method (and the associated costs) to the contractor’s discretion. Id.
  20         The construction contractor asserted a claim for fraudulent concealment
  21   against the City, alleging that the City had failed to disclose that “cave-ins”
  22   occurred in both test holes drilled by the City, which forced the City to change its
  23   drilling methods and to abandon the test holes before reaching the planned depth of
  24   50 feet. Warner Constr. Corp., 2 Cal.3d at 291. The construction contractor also
  25   alleged that the city had concealed information that two ancient landslides occurred
  26   at the construction site. Id. After citing the rule quoted above, the California
  27   Supreme Court noted:
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   1                 [a]ll these [three] instances [were] present in this case, or
   2                 so the jury could find. The nondisclosure of the cave-ins
   3                 and special drilling techniques used in drilling the test
   4                 holes transformed the logs into misleading half-truths.
   5                 The facts concealed were exclusively available to
   6                 defendant. Finally, plaintiff presented evidence of
   7                 intentional concealment by the city.
   8   Id. at 294-295.
   9           As discussed below, the facts pleaded in Plaintiff’s claim for fraud against
  10   the Defendant insurance carrier in the instant case fall within at least three of the
  11   categories in which a duty to disclose arises for purposes of a fraudulent
  12   concealment claim.
  13                       a.     Defendant Owed the Trust a Duty to Disclose Based
  14                              On Defendant’s Active Concealment of Material
  15                              Facts, and Plaintiff Has Pleaded Active Concealment
  16                              of Material Facts.
  17           As stated above, active concealment supports a claim of fraudulent
  18   concealment, irrespective of a fiduciary or confidential relationship between the
  19   parties. See, e.g., Warner Constr. Corp., 2 Cal.3d at 294; Goodman v. Kennedy, 18
  20   Cal.3d 335, 347 (1976); Yen v. Buchholz, 2010 WL 1758623 at * 7. See also, Civil
  21   Code section 15722; 5 Witkin, Summary of California Law, (10th ed. 2005) Torts
       2
  22       Civil Code section 1572 provides:
  23                 Actual fraud, what. Actual fraud, within the meaning of
  24                 this Chapter, consists in any of the following acts,
  25                 committed by a party to the contract, or with his
  26                 connivance, with intent to deceive another party thereto,
  27                 or to induce him to enter into the contract: …[¶] 3. The
  28                 suppression of that which is true, by one having
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   1   Ch. IX, § 798; and CACI No. 1901.3 The legal effect of active concealment is the
   2   same as that of affirmative misrepresentation. Stevens v. Superior Court, 180
   3

   4                  knowledge or belief of the fact.
   5   3
           CACI No. 1901 provides in relevant part:
   6                  [Name of plaintiff] claims that [he/she] was harmed
   7                  because [name of defendant] concealed certain
   8                  information. To establish this claim, [name of plaintiff]
   9                  must prove all of the following:
  10                  [1 (a) That [name of defendant] and [name of plaintiff]
  11                  were [insert type of fiduciary relationship, e.g., “business
  12                  partners”]; and
  13                  (b) That [name of defendant] intentionally failed to
  14                  disclose an important fact to [name of plaintiff];]
  15                  [or]
  16                  [1 That [name of defendant] disclosed some facts to
  17                  [name of plaintiff] but intentionally failed to disclose
  18                  [other/another] important fact(s), making the disclosure
  19                  deceptive;]
  20                  [or]
  21                  [1 That [name of defendant] intentionally failed to
  22                  disclose an important fact that was known only to
  23                  [him/her/it] and that [name of plaintiff] could not have
  24                  discovered;]
  25                  [or]
  26                  [1 That [name of defendant] actively concealed an
  27                  important fact from [name of plaintiff] or prevented
  28                  [him/her/it] from discovering that fact;]
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   1   Cal.App.3d 605, 609 (1986); Outboard Marine Corp. v. Superior Court, 52
   2   Cal.App.3d 30, 37 (1975). Active concealment requires “willful suppression of
   3   material fact.” Houston v. Ferguson, 2010 WL 4393873, 5 (N.D. CA 2010) (citing
   4   Lovejoy v. A.T.& T. Corp., 92 Cal.App.4th 85, 96 (2001).
   5         In Lovejoy v. A.T.& T. Corp., the Court of Appeal reversed a trial court’s
   6   dismissal of a fraudulent concealment claim by a long-distance customer against
   7   ATT for failing to disclose to him that it had terminated service for his 800 number.
   8   The plaintiff alleged that ATT “slammed” his business’s 800 telephone number by
   9   appropriating it for itself through false representation to a third party (the plaintiff’s
  10   then existing 800 number provider, Pac Bell) that it had plaintiff’s authorization to
  11   switch his 800 number to ATT. Plaintiff further alleged that once ATT obtained
  12   plaintiff’s business’s 800 number, ATT concealed the fact that it was charging him
  13   for 800 number service. Plaintiff then got into a billing dispute with ATT, and
  14   ATT terminated his long distance service, including his 800 number, without
  15   plaintiff’s knowledge. Id. at 90. The Court held that plaintiff’s allegation that ATT
  16   intentionally concealed that it had terminated his 800 number service was sufficient
  17   to state a cause of action for fraudulent concealment. Id. at 96 - 97.
  18                The disconnection, which sabotaged his [plaintiff’s]
  19                business, occurred because plaintiff was kept in the dark
  20                about the switch in service. This raises the crucial
  21                question: despite its flaws in pleading affirmative fraud,
  22                did the complaint state a valid cause of action for
  23                fraudulent concealment? We believe it did.
  24   Id. at 95 (emphasis in original).
  25
                    …
  26
       (Italics added.)
  27

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           PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS THE
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   2               After the “slam,” ATT allegedly suppressed the 800
   3               switch and concealed it from plaintiff by hiding the
   4               charges within its long-distance bill. The surreptitious
   5               switch and its concealment from plaintiff were a breach of
   6               duty by ATT to plaintiff, a long-distance customer.
   7   Id. at 96 (emphasis added).
   8         Thus, in Lovejoy, the court held that a long-distance carrier had a duty to
   9   disclose that it had terminated a customer’s long distance service and was liable for
  10   fraudulent concealment for intentionally concealing that fact in the long distance
  11   carrier’s statements to the customer.     In the instant case, Plaintiff asserts that
  12   Defendant, a life insurance carrier, had a duty to disclose to Plaintiff, as the
  13   beneficiary of the life insurance policy, that Defendant was going to terminate the
  14   Policy unless a substantial payment was made within a month, and intentionally
  15   concealed that fact by deliberately sending the “Notice of Policy Grace Period”
  16   letter to the wrong address. Under the Lovejoy court’s rationale, Plaintiff, as the
  17   beneficiary of a life insurance policy who had made decades of payments to the
  18   insurer, is certainly on equal, if not better footing than the customer of a long
  19   distance carrier in asserting fraudulent concealment where the defendant
  20   deliberately concealed important information.      Without question, Plaintiff has
  21   alleged that Defendant engaged in the willful suppression of material facts.
  22   Plaintiff has alleged that Defendant intentionally sent the “Notice of Policy Grace
  23   Period” letter to the wrong address in order to prevent Plaintiff from making a cure
  24   payment. That act gave Defendant the ability to claim – wrongfully -- that the
  25   Policy was cancelled and retain the hundreds of thousands of dollars in premium
  26   payments which Plaintiff had made over more than twenty years. Plaintiff also
  27   alleged that Defendant then deliberately covered up that misconduct by, among
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           PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS THE
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   1   other things, refusing to provide Plaintiff with any documents – let alone a copy of
   2   the Policy or the “Notice of Policy Grace Period” letter itself – for more than two
   3   years after Defendant wrongly claimed it terminated the Policy. Defendant further
   4   attempted to cover up its misconduct by falsely representing that Dr. Gunnoe would
   5   have to pass medical tests in order for there to be any chance that the Policy be
   6   returned to its prior effective status. (FAC ¶¶ 11-12.)
   7         Stevens v. Superior Court, 180 Cal.App.3d 605 (1986) also supports the
   8   sufficiency of Plaintiff’s concealment allegations. Stevens involved a fraud claim
   9   by a patient against a hospital, in which the plaintiff alleged that the hospital
  10   allowed unlicensed foreign physicians to practice medicine on its premises. Id. at
  11   607. The patient (plaintiff) alleged that the hospital had concealed from her the fact
  12   that one of the unlicensed physicians participated in a cesarean section procedure
  13   that was performed on her, and caused her to become brain dead. Id. at 608.
  14         Like the Lovejoy court, the Stevens panel reversed the Superior Court’s
  15   dismissal of the claim on the grounds that it failed to state a cause of action. The
  16   Stevens court concluded that the hospital had a duty to disclose to the plaintiff that
  17   the foreign physician was not licensed to practice in California, and he was not
  18   supervised. Plaintiff alleged that the defendant hospital deliberately concealed
  19   those facts from plaintiff. The Court held that the complaint adequately pleaded a
  20   cause of action for fraudulent concealment based on allegations of active
  21   concealment. Id. at 610.
  22         Accordingly, because Plaintiff has pleaded sufficient facts to show that
  23   Defendant intentionally concealed important facts from her, Plaintiff has stated a
  24   valid claim for fraudulent concealment. For this reason alone, if no other, the Court
  25   should deny Defendant’s Motion.
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           PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS THE
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   1                       b.     Defendant Also Owed A Duty of Disclosure to Plaintiff
   2                              Because the Facts Defendant Concealed Were Within
   3                              Its Exclusive Knowledge.
   4         Defendant’s systematic concealment of material facts is also actionable for a
   5   second and independent reason. As stated above, a duty to disclose arises when the
   6   defendant alone has knowledge of material facts which are not accessible to the
   7   plaintiff. Warner Constr. Corp., 2 Cal.3d at 294;4 Goodman, 18 Cal.3d at 347;
   8   Yen, 2010 WL 1758623 at * 7.
   9         Wells v. John Hancock Mut. Life Ins. Co., 85 Cal.App.3d 66 (1978),
  10   illustrates the application of this rule where a life insurance carrier failed to disclose
  11   that the policy had lapsed to a lender to whom the policy was assigned as collateral
  12   for a loan, and the carrier had exclusive knowledge of the lapse of the policy. The
  13   plaintiff alleged that she had been assigned a life insurance policy as security for
  14   certain loans she had made to the owner of the policy. When the insurance carrier
  15   received notice of the assignment in favor of the plaintiff, the life insurance
  16   company knew that the policy had previously lapsed due to non-payment of
  17   premiums and the expiration of the grace period. Id. at 69. The plaintiff sued the
  18   life insurance company for fraudulent concealment based upon its failure to
  19   disclose to her that that the policy had terminated. The life insurance carrier
  20   demurred to plaintiff’s “fraud and deceit” cause of action, arguing that it had no
  21   duty to disclose to the plaintiff that the policy had lapsed. The trial court sustained
  22   the life insurer’s demurrer.
  23         The Court of Appeal reversed the trial court’s decision, holding that the life
  24   insurance carrier owed, and had breached, a duty to disclose to the plaintiff, an
  25   assignee of the life insurance policy as collateral for a loan, that the policy had
  26   lapsed for non-payment of premiums and the expiration of the grace period. Wells,
  27
       4
        See also 5 Witkin, Summary of California Law, (10th ed. 2005) Ch. IX, § 796 (and
  28   cases cited); CACI No. 1901.
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           PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS THE
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   1   85 Cal.App.3d at 72. In reaching that decision, the Court noted that the insurance
   2   carrier’s knowledge that the policy had been terminated for non-payment was a fact
   3   that was not accessible to the plaintiff. Consequently, the Court held that the life
   4   insurance carrier had a duty to disclose that the policy had lapsed to the assignee of
   5   the policy as collateral for a loan. The Court held that the life insurer’s failure to
   6   make that disclosure was grounds for imposing liability for fraudulent
   7   concealment.5
   8                [K]nowledge concerning the legal status of the policy is
   9                peculiarly that of the insurer. A long unbroken line of
  10                California decisions recognizes that such disparity of
  11                knowledge may result in an imperative of disclosure.
  12                (Massei v. Lettunich (1967) 248 Cal.App.2d 68, 73, 56
  13                Cal.Rptr. 232 (duty to disclose that lots were on filled
  14                land); Rothstein v. Janss Inv. Corp. (1941) 45 Cal.App.2d
  15                64, 68, 113 P.2d 465 (ditto); Curran v. Heslop (1953) 115
  16                Cal.App.2d 476, 480, 252 P.2d 378 (failure to disclose
  17                violation of State Housing Act, not discoverable on casual
  18                inspection); Barder v. McClung (1949) 93 Cal.App.2d
  19                692, 697, 209 P.2d 808 (failure to disclose violation of
  20                zoning ordinances); Witkin, Summary of Cal. Law (8th
  21                ed. 1974) Torts, § 462.) We think the present situation
  22                easily falls within the principle of these decisions.
  23   Id. at 72.
  24          Applying the court’s ruling in Wells v. John Hancock Mut. Life Ins. Co. to
  25   the instant case, it would be anomalous to hold that a life insurance carrier has a
  26   5
        In dicta, the Court suggested that under the facts pleaded, a jury could reasonably
       infer that the nondisclosure was so significant that it amounted to an implied
  27   affirmative and false representation that the policy was, in fact, in effect. Wells, 85
       Cal.App.3d at 73, n.9.
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            PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS THE
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   1   duty to disclose that a policy has lapsed to a third party lender to whom the policy
   2   is assigned as collateral, but a life insurance carrier does not have a duty to disclose
   3   to the beneficiary of a life insurance policy who has made decades of premium
   4   payments that the policy will lapse unless a substantial payment is made within a
   5   short period of time. The allegations in Plaintiff’s FAC make it abundantly clear
   6   that Defendant’s acts of concealment were neither known by Plaintiff, nor
   7   accessible to her. Plaintiff did not learn of the existence of the wrongly addressed
   8   “Notice of Policy Grace Period” letter until December 2012, sixteen months after
   9   that letter had been sent to the wrong address, and after Plaintiff made multiple
  10   written requests for information and documents after her husband died and after
  11   Plaintiff was forced to retain legal counsel. (FAC ¶19.)6 Only Defendant knew
  12   when – and where – the letter had been sent. In the words of the Court in Wells v.
  13   John Hancock Mut. Life Ins. Co., “knowledge concerning the legal status of the
  14   policy is peculiarly that of the insurer.”
  15         For this second and independent reason alone, if no other, Plaintiff’s
  16   fraudulent concealment allegations are sufficient to state a claim, and Defendant’s
  17   Motion should be denied.
  18                       c.     Defendant had a duty to disclose because Defendant
  19                              has admitted that it voluntarily assumed a contractual
  20                              duty to disclose to the Trustee any forthcoming
  21                              termination of the Policy.
  22         As stated above, a duty to disclose also arises where it is “voluntarily
  23   assumed by contractual undertaking.” Irving, 2013 WL 1308712 at 10 (quoting
  24   SCC Acquisitions Inc., 207 Cal.App.4th at 864); Blickman Turkus, LP, 162
  25   Cal.App.4th at 867.
  26         As set forth in section II.B above, Defendant voluntarily assumed a
  27   6
         Plaintiff alleged that she “never received this letter, and therefore [December 17,
       2012] was the first time that Plaintiff has seen such a letter from Defendant.” (FAC
  28   ¶ 19.)
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           PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS THE
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   1   contractual duty to disclose pursuant to the terms of the document which Defendant
   2   represented to this Court is the Policy. In that agreement, Defendant “voluntarily
   3   assumed by contractual undertaking” a duty to disclose in writing to Plaintiff that
   4   Defendant would terminate the Policy unless a payment was made within thirty
   5   days.
   6           Plaintiff has alleged that Defendant intentionally sent the “Notice of Policy
   7   Grace Period” letter to the wrong address, thus effectively failing to make any
   8   disclosure to the Trustee that Defendant was going to terminate the Policy, and
   9   thereby violating the obligation of disclosure that Defendant voluntarily assumed
  10   by contract.
  11           Consequently, for this third and independent reason alone, if no other,
  12   Plaintiff has stated a claim for fraudulent concealment and Defendant’s Motion
  13   should be denied.
  14           B.     In the Alternative, the Court Should Grant Plaintiff Leave to
  15                  Amend Her Complaint.
  16           In the event this Court determines that Plaintiff has not sufficiently pleaded a
  17   claim for fraudulent concealment, she should be afforded leave to amend her claim.
  18   Rule 15(a) of the Federal Rules of Civil Procedure provides that leave to amend
  19   “shall be freely given when justice so requires.” See also, United States v.
  20   Corinthian Colleges, 655 F.3d 984, 995 (9th Cir. 2011) (standard for granting leave
  21   to amend is “generous”); Independent Trust Corp. v. Stewart Information Services
  22   Corp., 665 F.3d 930, 943 (7th Cir. 2012).
  23           After Plaintiff filed her FAC, Defendant served its Rule 26(a)(1) initial
  24   disclosures which included a number of documents that Plaintiff had never seen
  25   before and which show, among other things, that Defendant received independent
  26   confirmation in writing that Plaintiff never received the “Notice of Policy Grace
  27   Period” letter, and Defendant received that confirmation prior to the deadline set
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   1   forth in that letter.        Further, the documents show that Defendant received
   2   independent written confirmation of Plaintiff’s correct address prior to the deadline
   3   set forth in the “Notice of Policy Grace Period” letter.
   4   IV.         CONCLUSION
   5               Based on the foregoing, Plaintiff respectfully requests that this Court deny
   6   Defendant’s Motion to Dismiss in its entirety. Alternatively, should the Court grant
   7   the Motion to Dismiss, Plaintiff should be afforded leave to amend her First
   8   Amended Complaint. Further, Plaintiff requests that the Court grant such other and
   9   further relief as appropriate.
  10

  11   DATED: October 7, 2013                  JACKSON, DeMARCO, TIDUS &
  12                                           PECKENPAUGH
  13

  14
                                               By: /s/ Edward A. Galloway
  15                                             Alim Malik
                                                 Edward A. Galloway
  16                                             Michael J. Fairchild
                                                 Attorneys for Plaintiff
  17                                             REBECCA R. GUNNOE, TRUSTEE OF
                                                 THE GUNNOE IRREVOCABLE
  18                                             INSURANCE TRUST
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